          Case 1:18-cv-02840-RBW Document 3 Filed 12/04/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                         )
AMERICAN OVERSIGHT,                      )
                                         )
                              Plaintiff, )
                                         )
v.                                       )               Case No. 18-2840
                                         )
U.S. DEPARTMENT OF JUSTICE ET AL.,       )               MOTION FOR ADMISSION, PRO
                                         )               HAC VICE, OF GLENN S. KERNER
                           Defendants. )                 AS ADDITIONAL COUNSEL FOR
                                         )               PLAINTIFF
                                         )


       Plaintiff American Oversight, by and through its undersigned counsel, Joseph F.

Yenouskas, an active member of the United States District Court for the District of Columbia,

hereby moves pursuant to Local Civil Rule 83.2(d), for the pro hac vice admission of Glenn S.

Kerner, in the above-captioned case. Glenn S. Kerner is a member in good standing of the State

Bars of New York and New Jersey, U.S. Court of Appeals for the Second Circuit, U.S. Court of

Appeals for the Third Circuit, U.S. Court of Appeals for the Fourth Circuit, U.S. Court of

Appeals for the Sixth Circuit, U.S. Court of Appeals for the Ninth Circuit, U.S. District Court for

the District of New Jersey, U.S. District Court for the Eastern District of New York, U.S. District

Court for the Northern District of New York, U.S. District Court for the Southern District of

New York, U.S. District Court for the Western District of New York, U.S. District Court for the

Western District of Texas, and U.S. District Court for the Western District of Wisconsin. He is

employed as an attorney with Goodwin Procter LLP located at 620 Eighth Avenue, New York,

NY 10018. In support of this Motion, Mr. Kerner’s declaration is filed herewith.
        Case 1:18-cv-02840-RBW Document 3 Filed 12/04/18 Page 2 of 2




Dated: December 4, 2018                  Respectfully submitted,

                                         /s/ Joseph F. Yenouskas
                                         Joseph F. Yenouskas (D.C. Bar No. 414539)
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